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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Bar No. 170151)
 2   charlesverhoeven@quinnemanuel.com
     David A. Perlson (Bar No. 209502)
 3   davidperlson@quinnemanuel.com
     Melissa Baily (Bar No. 237649)
 4   melissabaily@quinnemanuel.com
     John Neukom (Bar No. 275887)
 5   johnneukom@quinnemanuel.com
     Jordan Jaffe (Bar No. 254886)
 6   jordanjaffe@quinnemanuel.com
   50 California Street, 22nd Floor
 7 San Francisco, California 94111-4788
   Telephone:     (415) 875-6600
 8 Facsimile:     (415) 875-6700

 9 Attorneys for WAYMO LLC

10                              UNITED STATES DISTRICT COURT

11             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12 WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA

13                Plaintiff,                    DECLARATION OF JOHN W.
                                                MCCAULEY IN SUPPORT OF
14       vs.                                    PLAINTIFF WAYMO LLC’S
                                                ADMINISTRATIVE MOTION TO FILE
15 UBER TECHNOLOGIES, INC.;                     UNDER SEAL PORTIONS OF LETTER
   OTTOMOTTO LLC; OTTO TRUCKING                 BRIEF REGARDING WAYMO’S
16 LLC,                                         MOTION TO COMPEL
17                Defendants.

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                                                                    CASE NO. 3:17-cv-00939-WHA
                                          DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1 I, John W. McCauley, declare as follows:

 2          1.     I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.     I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal Portions of its June 21, 2017 Letter Brief Regarding Waymo’s Motion to Compel (the “Letter

 8 Brief”) and Exhibits thereto (the “Administrative Motion”). The Administrative Motion seeks an

 9 order sealing the following materials:

10                     Document                   Portions to Be Filed        Designating Party
                                                       Under Seal
11       Portions of Waymo’s Letter Brief        Portions highlighted in    Defendants
                                                 blue
12
                                                 Portions highlighted in    Waymo
13                                               green
         Exhibit 1 of Waymo’s Letter Brief       Entire Document            Defendants
14       Exhibit 2 of Waymo’s Letter Brief       Portions highlighted in    Defendants
                                                 blue
15
         Exhibit 3 of Waymo’s Letter Brief       Portions highlighted in    Defendants
16                                               yellow and blue
         Exhibit 5 of Waymo’s Letter Brief       Entire Document            Defendants
17       Exhibit 6 of Waymo’s Letter Brief       Entire Document            Defendants
         Exhibit 7 of Waymo’s Letter Brief       Entire Document            Defendants
18       Exhibit 8 of Waymo’s Letter Brief       Entire Document            Defendants
19       Exhibit 9 of Waymo’s Letter Brief       Entire Document            Defendants
         Exhibit 13 of Waymo’s Letter Brief      Entire Document            Defendants
20       Exhibit 16 of Waymo’s Letter Brief      Entire Document            Defendants
21          3.     Waymo has filed portions of its Letter Brief (portions highlighted in blue) and the
22 Exhibits to the Letter Brief under seal because they contain information that Defendants have

23 designated confidential.

24          4.     Waymo expects Defendants to file one or more declarations in accordance with the
25 Local Rules.

26          5.     The Letter Brief also contains or refers to trade secret and confidential business
27 information, which Waymo seeks to seal.

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                                                 DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 681-1 Filed 06/21/17 Page 3 of 4




 1          6.      Portions of the Letter Brief (portions highlighted in green) contain, reference, and/or

 2 describe Waymo’s asserted trade secrets. The information Waymo seeks to seal includes the

 3 confidential design and functionality of Waymo’s proprietary autonomous vehicle system, which

 4 Waymo maintains as secret. I understand that these trade secrets are maintained as secret by Waymo

 5 (Dkt. 25-47) and are valuable as trade secrets to Waymo’s business (Dkt. 25-31). The public

 6 disclosure of this information would give Waymo’s competitors access to in-depth descriptions—and

 7 analysis—of the functionality of Waymo’s autonomous vehicle system. If such information were

 8 made public, I understand that Waymo’s competitive standing would be significantly harmed.

 9          7.      Waymo’s request to seal is narrowly tailored to those portions of the Letter Brief that

10 contain, reference, and/or describe Waymo’s asserted trade secrets and thus merit sealing, and the

11 scope of information that Waymo is seeking to seal is consistent with other administrative motions to

12 seal that have already been granted by the Court in this case. (See Dkt. 416, 414, 406, 393, 392.)

13          8.      On June 9, 2017, counsel for Defendants Uber Technologies Inc. and Ottomotto LLC

14 withdrew the confidentiality designation for the response to Interrogatory No. 1 of Waymo’s First Set

15 of Expedited Interrogatories Pursuant to Paragraph Six of the May 11, 2017 Preliminary Injunction

16 Order (Nos. 1-9) found in Exhibit 3.

17          I declare under penalty of perjury under the laws of the State of California and the United

18 States of America that the foregoing is true and correct, and that this declaration was executed in San
19 Francisco, California, on June 21, 2017.

20

21                                                By /s/ John W. McCauley
                                                     John W. McCauley
22                                                   Attorney for WAYMO LLC
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                                                     -3-                   CASE NO. 3:17-cv-00939-WHA
                                                 DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1                                  SIGNATURE ATTESTATION
 2         Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3 filing of this document has been obtained from John W. McCauley.

 4
                                                 /s/ Charles K. Verhoeven
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                                                   Charles K. Verhoeven
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                                                    -4-                   CASE NO. 3:17-cv-00939-WHA
                                                DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
